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: U.S. Department of Justice

 

United States Attorney
Southern District of N

   

 

The Silvio J. Mollo Building
One Saint Andrew’s Plaza
New York, New York 10007

October 15, 2020

 

SO ORDERED ne
BY ECF

. The October 27, 2020

“ave 1 2 908K Conference is adj
. Poy hve O
The Honorable George B. Daniels Ubi bv a January 5, 2021 at 10:30 om

Chief United States District Judge
Southern District of New York A B CF

500 Pearl Street . Doves
New York, New York 10007

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HON, . i : we,

Re: United States v, William Bradley, a/k/a “Red,” 19 Cr. 632 (GBD)

Dear Judge Daniels:

A status conference in the above-captioned case is scheduled for October 27, 2020. The
Government writes respectfully to request that the Court adjourn the status conference for
approximately 60 days.

The Government and the defense have been engaged in discussions regarding possible pre-
trial disposition. While the discussions are progressing, the COVID-19 pandemic has imposed
some impediments and delays, and as such, the parties do not expect to be able to complete these
discussions prior to the scheduled conference. Therefore, the Government requests that the Court
adjourn the status conference for approximately 60 days, to allow these discussions to continue.

In the event that the Court grants the requested adjournment, and to the extent that standing
orders of the District do not already apply, in an abundance of caution, the Government
respectfully requests that the Court exclude time under the Speedy Trial Act, from October 27,
2020 to the date that the conference is rescheduled, to permit the parties to continue discussions of
possible pre-trial disposition. The Government submits that the ends of justice served by the
continuance outweigh the best interests of the public and the defendant in a speedy trial. See 18
US.C. § 3161 (h)(7)(A).

 
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The undersigned has conferred with counsel for the defendant, who has consented to the

adjournment and exclusion of time.

cc: Jean Barrett, Esq. (via ECF)

Respectfully submitted,

AUDREY STRAUSS
Acting United States Attorney

Brett M. Kalikow
Assistant United States Attorneys
(212) 637-2220

 
